Case 11-33448   Doc 41-2   Filed 05/31/19 Entered 05/31/19 17:32:09   Desc Exhibit
                                  B Page 1 of 5




                Exhibit B
    Case
    Case11-33448
         11-33448 Doc
                  Doc41-2
                      11 Filed
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                                  05/31/19 Entered
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                         CertificateBof Service
                                        Page 2 ofPage
                                                  5    1 of 4
B9A (Official Form 9A) (Chapter 7 Individual or Joint Debtor No Asset Case) (12/10)                                    Case Number 11−33448
                                    UNITED STATES BANKRUPTCY COURT
                                           Northern District of Illinois
       Notice of Chapter 7 Bankruptcy Case, Meeting of Creditors, & Deadlines
      A chapter 7 bankruptcy case concerning the debtor(s) listed below was filed on August 16, 2011.

You may be a creditor of the debtor. This notice lists important deadlines. You may want to consult an attorney to protect your rights.
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below. NOTE: The staff of the
bankruptcy clerk's office cannot give legal advice.
                                   See Reverse Side For Important Explanations.
Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
Steven Lee Sorensen                                                     Tina L Sorensen
19808 S. Woodruff Ct.                                                   19808 S. Woodruff Ct.
Frankfort, IL 60423−8944                                                Frankfort, IL 60423−8944
Case Number: 11−33448                                                   Social Security / Individual Taxpayer ID / Employer Tax ID / Other
Office Code: 1                                                          nos:
                                                                        xxx−xx−6473
                                                                        xxx−xx−2319
Attorney for Debtor(s) (name and address):                              Bankruptcy Trustee (name and address):
Arthur D Wellman                                                        Bradley J Waller
Wellman & Associates                                                    Klein Stoddard Buck Waller & Lewis LLC
11980 Duchess                                                           2045 Aberdeen Court
Mokena, IL 60448                                                        Sycamore, IL 60178
Telephone number: (708) − 4791516                                       Telephone number: 815 748−0380

                                                      Meeting of Creditors:
Date: September 8, 2011                                  Time: 12:15 PM
Location: 150 West Jefferson Street, 2nd Floor, Joliet, IL 60432
All debtors are required to attend and bring a picture ID and proof of their Social Security Number to the
341 meeting.
                                  Presumption of Abuse under 11 U.S.C. § 707(b)
                                                See "Presumption of Abuse" on reverse side.
                                             The presumption of abuse does not arise.
                                                               Deadlines:
                            Papers must be received by the bankruptcy clerk's office by the following deadlines:

Deadline to Object to Debtor's Discharge or to Challenge Dischargeability of Certain Debts: November 7, 2011

                                                 Deadline to Object to Exemptions:
                                       Thirty (30) days after the conclusion of the meeting of creditors.

                                       Creditors May Not Take Certain Actions:
In most instances, the filing of the bankruptcy case automatically stays certain collection and other actions against the debtor and the
debtor's property. Under certain circumstances, the stay may be limited to 30 days or not exist at all, although the debtor can request the
court to extend or impose a stay. If you attempt to collect a debt or take other action in violation of the Bankruptcy Code, you may be
penalized. Consult a lawyer to determine your rights in this case.

             Please Do Not File a Proof of Claim Unless You Receive a Notice To Do So.
                                  Creditor with a Foreign Address:
A creditor to whom this notice is sent at a foreign address should read the information under "Do Not File a Proof of Claim at This Time"
on the reverse side.
Address of the Bankruptcy Clerk's Office:                                                        For the Court:
Eastern Division                                                        Clerk of the Bankruptcy Court:
219 S Dearborn                                                          Kenneth S. Gardner
7th Floor
Chicago, IL 60604
Telephone number: 1−866−222−8029
Hours Open: Monday − Friday 8:30 AM −4:30 PM                            Date: August 17, 2011
    Case
    Case11-33448
         11-33448 Doc
                  Doc41-2
                      11 Filed
                           Filed08/17/11
                                  05/31/19 Entered
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                                                          EXPLANATIONS                                          B9A (Official Form 9A) (12/10)

Filing of Chapter 7      A bankruptcy case under chapter 7 of the Bankruptcy Code (title 11, United States Code) has been filed in this court
Bankruptcy Case          by or against the debtor(s) listed on the front side, and an order for relief has been entered.

Legal Advice             The staff of the bankruptcy clerk's office cannot give legal advice. Consult a lawyer to determine your rights in this
                         case.

Creditors Generally  Prohibited collection actions are listed in Bankruptcy Code §362. Common examples of prohibited actions include
May Not Take Certain contacting the debtor by telephone, mail or otherwise to demand repayment; taking actions to collect money or
Actions              obtain property from the debtor; repossessing the debtor's property; starting or continuing lawsuits or foreclosures;
                     and garnishing or deducting from the debtor's wages. Under certain circumstances, the stay may be limited to 30
                     days or not exist at all, although the debtor can request the court to extend or impose a stay.


Presumption of Abuse If the presumption of abuse arises, creditors may have the right to file a motion to dismiss the case under § 707(b) of
                     the Bankruptcy Code. The debtor may rebut the presumption by showing special circumstances.


Meeting of Creditors     A meeting of creditors is scheduled for the date, time and location listed on the front side. The debtor (both spouses
                         in a joint case) must be present at the meeting to be questioned under oath by the trustee and by creditors. Creditors
                         are welcome to attend, but are not required to do so. The meeting may be continued and concluded at a later date
                         without further notice.


Do Not File a Proof of There does not appear to be any property available to the trustee to pay creditors. You therefore should not file a
Claim at This Time     proof of claim at this time. If it later appears that assets are available to pay creditors, you will be sent another notice
                       telling you that you may file a proof of claim, and telling you the deadline for filing your proof of claim. If this
                       notice is mailed to a creditor at a foreign address, the creditor may file a motion requesting the court to extend the
                       deadline.


Discharge of Debts       The debtor is seeking a discharge of most debts, which may include your debt. A discharge means that you may
                         never try to collect the debt from the debtor. If you believe that the debtor is not entitled to receive a discharge under
                         Bankruptcy Code §727(a) or that a debt owed to you is not dischargeable under Bankruptcy Code §523(a)(2), (4), or
                         (6), you must file a complaint −− or a motion if you assert the discharge should be denied under § 727(a)(8) or (a)(9)
                         −− in the bankruptcy clerk's office by the "Deadline to Object to Debtor's Discharge or to Challenge the
                         Dischargeability of Certain Debts" listed on the front of this form. The bankruptcy clerk's office must receive the
                         complaint or motion and any required filing fee by that deadline.


Exempt Property          The debtor is permitted by law to keep certain property as exempt. Exempt property will not be sold and distributed
                         to creditors. The debtor must file a list of all property claimed as exempt. You may inspect that list at the bankruptcy
                         clerk's office. If you believe that an exemption claimed by the debtor is not authorized by law, you may file an
                         objection to that exemption. The bankruptcy clerk's office must receive the objections by the "Deadline to Object to
                         Exemptions" listed on the front side.


Bankruptcy Clerk's       Any paper that you file in this bankruptcy case should be filed at the bankruptcy clerk's office at the address listed
Office                   on the front side. You may inspect all papers filed, including the list of the debtor's property and debts and the list of
                         the property claimed as exempt, at the bankruptcy clerk's office.


Creditor with a          Consult a lawyer familiar with United States bankruptcy law if you have any questions regarding your rights in this
Foreign Address          case.


                         −− Refer to Other Side for Important Deadlines and Notices −−
       Case
       Case11-33448
            11-33448 Doc
                     Doc41-2
                         11 Filed
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                                     05/31/19 Entered
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                                      United States Bankruptcy Court
                                      Northern District of Illinois
In re:                                                                                  Case No. 11-33448-BWB
Steven Lee Sorensen                                                                     Chapter 7
Tina L Sorensen
         Debtors
                                        CERTIFICATE OF NOTICE
District/off: 0752-1           User: sdaniel                Page 1 of 2                   Date Rcvd: Aug 17, 2011
                               Form ID: b9a                 Total Noticed: 49


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Aug 19, 2011.
db/jdb         Steven Lee Sorensen,    Tina L Sorensen,     19808 S. Woodruff Ct.,    Frankfort, IL 60423-8944
aty           +Arthur D Wellman,    Wellman & Associates,     11980 Duchess,   Mokena, IL 60448-9285
tr            +Bradley J Waller,    Klein Stoddard Buck Waller & Lewis LLC,     2045 Aberdeen Court,
                Sycamore, IL 60178-3140
17674949       ADT Security Services,    P.O. Box 371490,     Pittsburgh, PA 15250-7490
17674952      +Amsurg Surgery Ctr,    998 129th Infantry Dr.,     Joliet, IL 60435-6893
17674954      +Associated Radiologists Of Joliet,     39069 Treasury Ctr,    Chicago, IL 60694-9000
17674955       Associated St. James Radiologists,     PO Box 3463,    Springfield, IL 62708-3463
17674956       Associated Urological Specialists,     PO Box 516,     Bedford Park, IL 60499-0516
17674958      +BMO Harris Bank, N.A.,    P.O. Box 6201,     Carol Stream, IL 60197-6201
17674959      +BMO Harris Bank, N.A.,    P.O. Box 94034,     Palatine, IL 60094-4034
17674957       Bank Of America,    P.O Box 17054,    Dallas, TX 93062-5170
17674963      +Citifinancial,    300 St. Paul PL.,    Baltimore, MD 21202-2120
17674965      +Donald R. Wilson, Jr.,    540 W. Madison St.,     Suite 2600,   Chicago, IL 60661-2555
17674966      +Dr. Michael P. Ryan,    17061 S. Harlem Ave.,     Tinley Park, IL 60477-2739
17674968      +Focus Receivables Mgt,    1130 Northchase Pky,     Suite 150,   Marietta, GA 30067-6429
17674969      +GB/PAYPAL Smart Conn,    P.O. Box 981064,     El Paso,, TX 79998-1064
17674971      +Harris, N.A.,    % Ehrenberg & Egan, Attorneys At Law,     330 N. Wabash Ave. Suite 2905,
                Chicago, IL 60611-7606
17674974      +Keith Schallenkamp,    2-361st TSBn,    P.O. 616,    El Paso, TX 79944-0616
17674975       LCA Collections,    P.O. Box 2240,    Burlington, NC 27216-2240
17674948      +Law Offices of Arthur Wellman,     11980 Duchess Ave,    Mokena, IL 60448-9285
17674976      +Marquette Vision Center,     9612 Willow Lane,    Mokena, IL 60448-9318
17674977      +Medical Business Bureau,     1460 Renaissance Dr.,    Park Ridge,, IL 60068-1349
17674979       Northstar Location Services,     Attn: Fnancial Services Dept,     4285 Genesse St.,
                Cheektowaga, NY 14225-1943
17674980      +O’Malley & Madden, P.C.,     542 S. Dearborn St.,    Suite 660,    Chicago, IL 60605-1558
17674981       Palos Anesthesia Associates,     Dept 4622,    Carol Stream, IL 60122-0001
17674982      +Palos Community Hospital,     % Harris And Harris, Ltd.,    222 Merchandise Mart Plaza, Suite 1900,
                Chicago, IL 60654-1421
17674983      +RNB-FieldS3,    PO Box 9475,    Minnneapolis, MN 55440-9475
17674984      +Robert J. Fedor,    2001 Crocker Rd. Suite 216,     Cleveland, OH 44145-6968
17674986      +Shirley Schallenkamp,    730 N. Idaho,    P.O. Box 333,    Salem, SD 57058-0333
17674946      +Sorensen Steven Lee,    19808 S Woodruff Ct,     Frankfort, IL 60423-8944
17674947      +Sorensen Tina L,    19808 S Woodruff Ct,     Frankfort, IL 60423-8944
17674987       St James Hospital,    Accts Recovery Bureau, Inc.,     P.O. Box 6768,    Wyomissing,, PA 19610-0768
17674988      +St. James Hospital Corp,     20201 Crawford,    Olympia Fields, IL 60461-1010
17674990      +Target NB,    % Freedman, Anselmo, Lindberg, LLC,     P.O Box 3228,    Naperville, IL 60566-3228
17674991      +Tina Sorensen,    19808 S. Woodruff Ct.,     Frankfort, IL 60423-8944
17674992      +Transworld Systems, Inc.,     1375 E, Woodfield Rd.,    Suite 110,    Schaumburg, IL 60173-5423

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
17674950     +EDI: ALLIANCEONE.COM Aug 18 2011 00:18:00      Alliance Receivables, Management, INc.,
               4850 Street Rd. , Suite 300,   Trevose,, PA 19053-6643
17674951     +EDI: GMACFS.COM Aug 18 2011 00:18:00      Ally Financial,    200 Renaissance Ctr.,
               Detroit, MI 48243-1300
17674953     +EDI: ACCE.COM Aug 18 2011 00:18:00      Asset Acceptance LLC,     PO Box 2036,
               Warren, MI 48090-2036
17674960      EDI: CAPITALONE.COM Aug 18 2011 00:18:00      Cap One,    P.O. Box 85520,   Richmond, VA 23285
17674961      EDI: CITICORP.COM Aug 18 2011 00:18:00      Citi Card,    P.O. Box 6077,
               Sioux Falls, SD 57117-6077
17674962     +EDI: CITICORP.COM Aug 18 2011 00:18:00      Citibank Mastercard,    PO Box 6241,
               Sioux Falls, SD 57117-6241
17674964      EDI: CIAC.COM Aug 18 2011 00:18:00      Citifinancial,    P,O.Box 6931.,
               The Lakes, NV 88901-6931
17674967     +EDI: ESCALLATE.COM Aug 18 2011 00:18:00      Escallate LLC,    5200 Stoneham Rd.,
               North Canton, OH 44720-1584
17674970      EDI: RMSC.COM Aug 18 2011 00:18:00      GEMB/GE Money Bank Low,    PO Box 103065,
               Roswell, GA 30076
17674972      EDI: IRS.COM Aug 18 2011 00:18:00      Internal Revenue Service,    P.O. Box 9019,
               Holtsville, NY 11742-9019
17674978     +EDI: MID8.COM Aug 18 2011 00:18:00      Midland Credit Mgmt,    8875 Aero Dr.,
               San Diego, CA 92123-2255
17674985     +EDI: SEARS.COM Aug 18 2011 00:18:00      Sears Mastercard,    P.O. Box 183082,
               Columbus, OH 43218-3082
17674989     +EDI: WTRRNBANK.COM Aug 18 2011 00:18:00      Target NB,    PO Box 673,
               Minneapolis,, MN 55440-0673
                                                                                               TOTAL: 13
          Case
          Case11-33448
               11-33448 Doc
                        Doc41-2
                            11 Filed
                                 Filed08/17/11
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 District/off: 0752-1                  User: sdaniel                      Page 2 of 2                          Date Rcvd: Aug 17, 2011
                                       Form ID: b9a                       Total Noticed: 49


               ***** BYPASSED RECIPIENTS (continued) *****

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 17674973*      ++INTERNAL REVENUE SERVICE,   CENTRALIZED INSOLVENCY OPERATIONS,   PO BOX 7346,
                   PHILADELPHIA PA 19101-7346
                 (address filed with court: Internal Revenue Service,    P.O. Box 9019,   Holtsville, NY 11742)
                                                                                                TOTALS: 0, * 1, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Aug 19, 2011                                       Signature:
